             Case 2:21-mj-04866-DUTY Document 2 Filed 10/22/21 Page 1 of 1 Page ID #:2
Submit this form bye-mail to:                                                                                                ~1
                                                                                                                     ~" ~ ~~ ~l
CrimIntakeCourtDocs-LAC~cacd.uscourts.gov For Los Angeles criminal duty.
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                                               UNITED STATES DISTRICT COURT                                               - F,; f , ~i +
                                             CENTRAL DISTRICT OF CALIFORNIA                                  ` ~ ~ ` ~~ ~~5 ~ i ~ ~;,~~_''
                                                                                                                   t.C~ A!~~~';
                                                                                                                              .v~
                                                                           CASE NUMBER:               `" '      _. ___ _dqfk.—._._...__.____   --
UNITED STATES OF AMERICA                                                                              3:21 Cr31-TKW
                                                           PLAINTIFF
                    V.

                                                                                  REPORT COMMENCING CRIMINAL
EUGENE HUELSMAN
                                                                                                   ACTION ~~, a I _ ~~ /_6
USMS#                                                    DEFENDANT                                                     ~p

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1• The defendant was arrested in this district on 10/21/2021                      at 9:30        ❑ AM ❑x PM
     or
     The defendant was arrested in the                       District of                    on                  at              ❑ AM ❑ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:             ~ Yes         ~x No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):                   ~x Yes           ❑ No

4. Charges under which defendant has been booked:

     Title 18 USC Section 845(c)

5. Offense charged is a:          Ox Felony         ❑Minor Offense               ❑ Petty Offense              ❑Other Misdemeanor

6. Interpreter Required:          ~x No      ❑Yes           Language:

7• Year of Birth: 1963

8. Defendant has retained counsel:                ~x No
    ❑ Yes         Name:                                                           Phone Number:

9• Name of Pretrial Services Officer notified: Fina;lecl

10. Remarks (if any):

1 1. Name: Ryan Cunningham                                          (please print)

12. Office Phone Number: 323.828.9713                                                 13• Agency: FBI

14. Signature: /s/ Ryan Cunningham                                                    1S• Date: 10/22/2021

CR-64(09/20)                                      REPORT COMMENCING CRIMINAL ACTION
